            EXHIBIT B
            (Real Estate Purchase and Sale Agreement)




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 1 of 21
                             Exhibit B Page 001




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 2 of 21
                             Exhibit B Page 002




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 3 of 21
                             Exhibit B Page 003




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 4 of 21
                             Exhibit B Page 004




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 5 of 21
                             Exhibit B Page 005




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 6 of 21
                             Exhibit B Page 006




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 7 of 21
                             Exhibit B Page 007




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 8 of 21
                             Exhibit B Page 008




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 9 of 21
                              Exhibit B Page 009




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 10 of 21
                              Exhibit B Page 010




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 11 of 21
                              Exhibit B Page 011




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 12 of 21
                              Exhibit B Page 012




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 13 of 21
                              Exhibit B Page 013




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 14 of 21
                              Exhibit B Page 014




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 15 of 21
                              Exhibit B Page 015




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 16 of 21
                              Exhibit B Page 016




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 17 of 21
                              Exhibit B Page 017




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 18 of 21
                              Exhibit B Page 018




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 19 of 21
                              Exhibit B Page 019




18-03197-FPC7   Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 20 of 21
Authentisign ID: 7542AB37-8147-461D-9CAA-9EBAC604D41A

                                                            Exhibit B Page 020




                18-03197-FPC7                 Doc 678-2   Filed 08/20/20   Entered 08/20/20 15:56:05   Pg 21 of 21
